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                                                                                         Ch 13 Model Plan (rev 11-2017)
                               UNITED STATES BANKRUPTCY COURT
                                 SOUTHERN DISTRICT OF INDIANA
                                     INDIANAPOLIS DIVISION


In re:                                                  )
Ramon Lee Batts and                                     ) Case No. 18-09567-RLM-13
Dountonia Shawntee Batts                                )
Debtor(s).                                              )

                                             CHAPTER 13 PLAN
                                               Original __X__
                                             Amended Plan # ____

1. NOTICE TO INTERESTED PARTIES:
      The Debtor must check one box on each line to state whether or not the plan includes each of the
      following items. If an item is checked as “Not Included,” if neither box is checked, or if both boxes are
      checked, the provision will be ineffective if set out later in the plan.


1.1        A limit on the amount of a secured claim, pursuant                 Included           Not Included
           to paragraph 8.(b), which may result in a partial
           payment or no payment at all to the secured creditor.

1.2        Avoidance of a judicial lien or nonpossessory,                     Included           Not Included
           nonpurchase money security interest. Any lien
           avoidance shall occur by separate motion or
           proceeding, pursuant to paragraph 12.

1.3        Nonstandard provisions, set out in paragraph 15.                   Included           Not Included


2. GENERAL PROVISIONS:

      (a) YOUR RIGHTS MAY BE AFFECTED. Read these papers carefully and discuss them with your
      attorney. If you oppose any provision of this plan, you must file a timely written objection. This plan
      may be confirmed without further notice or hearing unless a written objection is filed before the
      deadline stated on the separate Notice you received from the Court.

      (b) PROOFS OF CLAIM: You must file a proof of claim to receive distributions under the plan.
      Absent a Court order determining the amount of the secured claim, the filed proof of claim shall
      control as to the determination of pre-petition arrearages; secured and priority tax liabilities; other
      priority claims; and the amount required to satisfy and offer of payment in full. All claims that are
      secured by a security interest in real estate shall comply with the requirements of Federal Rule of
      Bankruptcy Procedure (“FRBP”)3001(c)(2)(C).

      (c) NOTICES RELATING TO MORTGAGES: As required by Local Rule B-3002.1-1, all
      creditors with claims secured by a security interest in real estate shall comply with the requirements of
      FRBP 3002.1 (b) and (c) without regard to whether the real estate is the Debtor's principal residence.
      If there is a change in the mortgage servicer while the bankruptcy is pending, the mortgage holder
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  shall file with the Court and serve upon the Debtor, Debtor’s counsel and the Chapter 13 Trustee
  (“Trustee”) a Notice setting forth the change and providing the name of the new servicer, the payment
  address, a contact phone number and a contact e-mail address.

  (d) NOTICES (OTHER THAN THOSE RELATING TO MORTGAGES): Nonmortgage
  creditors in Section 8(c) (whose rights are not being modified) or in Section 11 (whose executory
  contracts/unexpired leases are being assumed) may continue to mail customary notices or coupons to
  the Debtor or the Trustee notwithstanding the automatic stay.

  (e) EQUAL MONTHLY PAYMENTS: As to payments required by paragraphs 7 and 8,
  the Trustee may increase the amount of any “Equal Monthly Amount” offered to appropriately
  amortize the claim. The Trustee shall be permitted to accelerate payments to any class of creditor for
  efficient administration of the case.

  (f) PAYMENTS FOLLOWING ENTRY OF ORDERS LIFTING STAY: Upon entry
  of an order lifting the stay, no distributions shall be made on any secured claim relating to the subject
  collateral until such time as a timely amended deficiency claim is filed by such creditor and deemed
  allowed, or the automatic stay is re-imposed by further order of the Court.

3. SUBMISSION OF INCOME:
  Debtor submits to the supervision and control of the Trustee all or such portion of future earnings or
  other future income or specified property of the Debtor as is necessary for the execution of this plan.

4. PLAN TERMS:

  (a) PAYMENT AND LENGTH OF PLAN: Debtor shall pay $N/A to the Trustee, starting not later
  than 30 days after the order for relief, for N/A months, for a total amount of $N/A..
  Additional payments to Trustee and/or future changes to the periodic amount proposed are:
  Debtors shall pay $500.00 per month for the first 2 months of the plan (January 26, 2018-March 25,
  2019)(2 x $500.00 = $1,000.00). Starting March 26, 2019, they shall pay $1,300.00 per month for the
  remaining 58 months of the plan (58 x $1,300.00 = $75,400.00). Total plan length shall be 60 months
  with a base of $76,400.00.

  (b) INCREASED FUNDING: If additional property comes into the estate pursuant to 11 U.S.C.
  §1306(a)(1) or if the Trustee discovers undisclosed property of the estate, then the Trustee may obtain
  such property or its proceeds to increase the total amount to be paid under the plan. However, if the
  Trustee elects to take less than 100% of the property to which the estate may be entitled OR less than
  the amount necessary to pay all allowed claims in full, then a motion to compromise and settle will be
  filed, and appropriate notice given.

  (c) CURING DEFAULTS: If Debtor falls behind on plan payments or if changes to the payments
  owed to secured lenders require additional funds from the Debtor's income, the Debtor and the Trustee
  may agree that the Debtor(s) will increase the periodic payment amount or that the time period for
  making payments will be extended, not to exceed 60 months. Creditors will not receive notice of any
  such agreement unless the total amount that the Debtor(s) will pay to the Trustee decreases. Any party
  may request in writing, addressed to the Trustee at the address shown on the notice of the meeting of
  creditors, that the Trustee give that party notice of any such agreement. Agreements under this section
  cannot extend the term of the plan more than 6 additional months.

  (d) OTHER PLAN CHANGES: Any other modification of the plan shall be proposed by motion
  pursuant to 11 U.S.C. §1329. Service of any motion to modify this plan shall be made by the moving
  party as required by FRBP 2002(a)(5) and 3015(h), unless otherwise ordered by the Court.
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5. PAYMENT OF ADMINISTRATIVE CLAIMS (INCLUSIVE OF DEBTOR'S ATTORNEY FEES):

   NONE
   All allowed administrative claims will be paid in full by the Trustee unless the creditor agrees
   otherwise:

  Creditor                             Type of Claim                      Scheduled Amount

  Tom Scott & Associates, P.C.         Attorney Fees                      $ 3,010.00

6. PAYMENT OF DOMESTIC SUPPORT OBLIGATIONS:

   (a) Ongoing Domestic Support Obligations. Debtor shall make any Domestic Support Obligation
   payments that are due after the filing of the case under a Domestic Support Order directly to the payee.

   NONE

   (b) Domestic Support Obligation Arrears.

   NONE
   The following arrearages on Domestic Support Obligations will be paid in the manner specified:

 Creditor                  Type of Claim                     Estimated Arrears     Treatment
                                                                                   Creditor to be paid
                                                                                   outside of the plan via
                                                                                   existing wage
 Kara Batts nka                                                                    assignment of
 Taylor                    Child support arrears             $10,000.00            Husband’s wages

7. PAYMENT OF SECURED CLAIMS RELATING SOLELY TO THE DEBTOR’S
PRINCIPAL RESIDENCE:

   NONE
   As required by Local Rule B-3015-1(a), if there is a pre-petition arrearage claim on a mortgage
   secured by the Debtor’s principal residence, then both the pre-petition arrearage and the post-petition
   mortgage installments shall be made through the Trustee. Initial post-petition payment arrears shall be
   paid with secured creditors. If there are no arrears, the Debtor may pay the secured creditor. Before
   confirmation, the payment to the mortgage lender shall be the regular monthly mortgage payment
   unless otherwise ordered by the Court or modified pursuant to an agreement with the mortgage lender.
   After confirmation, payment shall be as set forth below. Equal Monthly Amount and Estimated
   Arrears listed below shall be adjusted based on the filed claim and/or notice. Delinquent real estate
   taxes and homeowners’ association or similar dues should be treated under this paragraph.

Creditor               Residential Address     Estimated          Equal Monthly     Select One for Mortgages
                                               Arrears            Amount                    ONLY:

                                                                                   Trustee            Direct
                                                                                   Pay                Pay


No late charges, fees or other monetary amounts shall be assessed based on the timing of any payments
made by the Trustee under the provisions of the Plan, unless allowed by Order of the Court.
8. PAYMENT OF SECURED CLAIMS OTHER THAN CLAIMS TREATED UNDER
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PARAGRAPH 7:

   (a) Secured Claims as to Which 11 U.S.C. § 506 Valuation Is Not Applicable:

   NONE
   Pursuant to Local Rule B-3015-3, and unless otherwise ordered by the Court, prior to plan
   confirmation, as to secured claims not treated under paragraph 7 and as to which valuation under 11
   U.S.C. § 506 is not applicable, the Trustee shall pay monthly adequate protection payments equal to
   1% of a filed secured claim. The Trustee shall disburse such adequate protection payments to the
   secured creditor as soon as practicable after receiving plan payments from the Debtor, and the secured
   claim will be reduced accordingly. After confirmation of the plan, unless otherwise provided in
   paragraph 15, the Trustee will pay to the holder of each allowed secured claim the filed claim amount
   with interest at the rate stated in column 5.

(1)             (2)             (3)          (4)             (5)        (6)
Creditor        Collateral      Purchase     Estimated       Interest   Equal Monthly Amount
                                Date         Claim Amount    Rate
                                                                        $650.00**Note**Se
                                                                        e paragraph 15(c)
                                                                        below as to when
                2014 Dodge                                              Equal Monthly
Ally Bank       Durango         7/2018       $30,937.84      5.75%      Amounts commence

 (b) Secured Claims as to Which 11 U.S.C. § 506 Valuation is Applicable:

   NONE
   Pursuant to Local Rule B-3015-3, and unless otherwise ordered by the Court, prior to plan
   confirmation as to secured claims not treated under paragraph 7 but as to which § 506 valuation is
   applicable, the Trustee shall pay monthly adequate protection payments equal to 1% of the value of
   the collateral in column 5. The Trustee shall disburse such adequate protection payments to the
   secured creditor as soon as practicable after receiving plan payments from the Debtor, and the secured
   claim will be reduced accordingly. After confirmation of the plan, unless otherwise provided in
   paragraph 15, the Trustee will pay to the holder of each allowed secured claim the value amount in
   column 5 at the equal monthly amount in column 7 with interest at the rate stated in column 6.

(1)              (2)             (3)          (4)             (5)            (6)        (7)
Creditor         Collateral      Purchase     Scheduled       Value          Interest   Equal
                                 Date         Debt                           Rate       Monthly
                                                                                        Amount




   (c) Curing Defaults and/or Maintaining Payments:
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   NONE
   Trustee shall pay the allowed claim for the arrearage, and Debtor shall pay regular post-petition
   contract payments directly to the creditor:

Creditor                 Collateral/Type of Debt        Estimated Arrears      Interest Rate (if any)
                                                                               Interest shall
NPRTO North-East,                                                              continue to accrue
LLC                      Lease-to-own furniture         $0.00                  per contract

   (d) Surrendered/Abandoned Collateral:

   NONE
   The Debtor intends to surrender the following collateral. Upon confirmation, the Chapter 13 estate
   abandons any interest in, and the automatic stay pursuant to 11 U.S.C. § 362 is terminated as to, the
   listed collateral and the automatic stay pursuant to 11 U.S.C. §1301 is terminated in all respects. Any
   allowed unsecured claim resulting from the disposition of the collateral will be treated in paragraph
   10.(b) below. Upon confirmation, the secured creditor is free to pursue its in rem rights.

Creditor                           Collateral
                                   Surrendered/Abandoned               Scheduled Value of Property




9. SECURED TAX CLAIMS AND 11 U.S.C. § 507 PRIORITY CLAIMS:

   NONE
   All allowed secured tax obligations shall be paid in full by the Trustee, inclusive of statutory interest
   thereon (whether or not an interest factor is expressly offered by plan terms). All allowed priority
   claims shall be paid in full by the Trustee, exclusive of interest, unless the creditor agrees otherwise:

Creditor           Type of Priority or Secured        Scheduled Debt          Treatment
                   Claim
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10. NON-PRIORITY UNSECURED CLAIMS:

   (a) Separately Classified or Long-term Debts:

   NONE
Creditor             Basis for           Treatment              Amount        Interest (if any)
                     Classification

Navient
Solutions,                               Creditor shall
LLC/Great            Long-term           be paid outside                      Interest shall
Lakes Higher         non-                of the plan via                      continue to
Education,           dischargeable       direct debtor                        accrue per
etc.                 student loans       payments               $6,942.59     contract

Navient
Solutions,                               Creditor shall
LLC/Great            Long-term           be paid outside                      Interest shall
Lakes Higher         non-                of the plan via                      continue to
Education,           dischargeable       direct debtor                        accrue per
etc.                 student loans       payments               $34,007.95    contract

Navient
Solutions,                               Creditor shall
LLC/Great            Long-term           be paid outside                      Interest shall
Lakes Higher         non-                of the plan via                      continue to
Education,           dischargeable       direct debtor                        accrue per
etc.                 student loans       payments               $2,962.00     contract
                                         Creditor shall
                     Long-term           be paid outside                      Interest shall
                     non-                of the plan via                      continue to
FedLoan              dischargeable       direct debtor                        accrue per
Servicing            student loans       payments               $236,623.00   contract

   (b) General Unsecured Claims:
           Pro rata distribution from any remaining funds; or
           Other: __________________________________.
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11. EXECUTORY CONTRACTS AND UNEXPIRED LEASES:

   NONE
   All executory contracts and unexpired leases are REJECTED, except the following, which are
   assumed:

Creditor                         Property Description                Treatment
                                 Residential lease expiring
FirstKey Homes                   April 19, 2019                      Assumed
NPRTO North-East, LLC            Lease-to-own furniture              Assumed




12. AVOIDANCE OF LIENS:

   NONE
   Debtor will file a separate motion or adversary proceeding to avoid the following nonpurchase
   money security interests, judicial liens, wholly unsecured mortgages or other liens that impair
   exemptions:

Creditor                         Collateral/Property Description     Amount of Lien to be Avoided




13. LIEN RETENTION: With respect to each allowed secured claim provided for by
   the plan, the holder of such claim shall retain its lien securing such claim until the earlier of a) the
   payment of the underlying debt determined under non-bankruptcy law or b) entry of a discharge order
   under 11 U.S.C. § 1328.



14. VESTING OF PROPERTY OF THE ESTATE: Except as necessary to fund the plan or as
   expressly retained by the plan or confirmation order, the property of the estate shall revest in the
   Debtor upon confirmation of the Debtor’s plan, subject to the rights of the Trustee, if any, to assert
   claim to any additional property of the estate acquired by the Debtor post-petition pursuant to
   operation of 11 U.S.C. § 1306.
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15. NONSTANDARD PROVISIONS:

   NONE
   Under FRBP 3015(c), nonstandard provisions are required to be set forth below. Any nonstandard
   provision placed elsewhere in the plan is void. These plan provisions will be effective only if the
   included box in Paragraph 1.3 of this plan is checked.

   (a) Monthly plan payments shall be made by             direct payment or via       Wage Assignment.

   (b) Debtor acknowledges that taxing authorities may continue to assess post-petition interest on any
   tax liabilities which are non-dischargeable; therefore, Debtor shall contact the taxing authorities after a
   Discharge Order is entered, in order to make payment arrangements on any tax liabilities which may
   remain due and owing.

   (c) Pursuant to 11 U.S.C. Section 1326, Sections 8(a) and 8(b) of this Chapter 13 Plan shall be
   clarified as follows: Notwithstanding the date this Chapter 13 Plan is confirmed, the Creditor(s) shall
   continue to receive Adequate Protection Payments until all Administrative Claims are paid in full. In
   other words, the Creditor(s) shall not receive Equal Monthly Amounts until the month after all
   Administrative Claims are paid in full.



Debtor’s Signature: /s/ Ramon Lee Batts
                       Ramon Lee Batts                                      Date: 2/15/2019

Debtor’s Signature: /s/ Dountonia Shawntee Batts
                       Dountonia Shawntee Batts                             Date: 2/15/2019


Attorney’s Signature:    /s/ Jess M. Smith, III
                         Jess M. Smith, III (#21468-30)
                         Tom Scott & Associates, P.C., Attorneys for Debtor(s)
                         6100 N. Keystone Ave., Ste. 454
                         Indianapolis, IN 46220
                         Phone: (317) 255-9915 Fax: (317) 257-5059
                         E-mail: bk@tomscottlaw.com                  Date: 2/15/2019



By filing this document, the Debtor(s), if not represented by an attorney, or the Attorney
for the Debtor(s) also certify(ies) that the wording and order of the provisions in this
Chapter 13 plan are identical to those contained in the form plan adopted by this Court,
other than any nonstandard provisions included in paragraph 15.
